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                         IN UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 MICHAEL HANSON                                 §
 ROBERT BRIDGES, and                            §
 DELLA LE SALLE ,                               §
              Plaintiffs,                       §
                                                §
 v.                                             §
                                                §
 CS&P TECHNOLOGIES,                             §
 MERCER VALVE CO .,                             §         CIVIL ACTION NO . 4:14-CV -00306
 STANDARD INSTRUMENTS SERVS., INC.,             §
 CETCO ENERGY SERVS. LLC;                       §
 AIRGAS LLC, USA LLC CENTRAL, INC.,             §
 CF INDUS., INC., AND                           §
 CF INDUS. HOLDINGS, INC.,                      §
                      Defendants.               §


                    MEMORANDUM AND RECOMMENDATION

       This case has been referred to this magistrate judge for pre-trial management. (Dkt.

29) Four motions are currently before the court: defendant CF Industries’ motion to

dismiss for lack of personal jurisdiction, (Dkt. 14); plaintiffs Michael Hanson, Robert

Bridges, and Delma LaSalle’s motion for discovery, (Dkt. 26); plaintiffs’ motion to remand,

or, in the alternative, leave to amend, (Dkt. 33); and defendant Airgas USA’s motion to

transfer venue. (Dkt. 39). A hearing on these motions was held on April 29, 2014. For

reasons explained below, the court recommends that plaintiffs’ motion for remand be

denied, their motion for leave to amend granted, and the case remanded sua sponte.

                                         Background

       This is a personal injury lawsuit. (Dkt. 1). On December 18, 2013, Hanson, Bridges,

and LaSalle filed this action in the 127th district court in Harris County. (Dkt. 1-1). Plaintiffs
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allege negligence and products liability causes of action against defendants due to injuries

they sustained from an explosion at a nitrogen plant in Donaldsonville, Louisiana. (Dkt.

1-1).

         On February 7, 2014, defendant Airgas removed the action, claiming that plaintiffs

had fraudulently joined non-diverse defendant CS&P Technologies. (Dkt. 1). On February

14, 2014, CF Industries moved to dismiss the case for lack of personal jurisdiction. (Dkt. 14).

On March 3, 2014, plaintiffs moved to conduct jurisdictional discovery and for an extension

to respond to CF’s motion to dismiss. (Dkt. 26). On March 7, 2014, plaintiffs filed a motion

to remand or, in the alternative, leave to amend the complaint and join another non-diverse

defendant. (Dkt. 33). On March 18, 2014, Airgas moved to transfer venue to the Middle

District of Louisiana. (Dkt. 39).

                                    Motion to Remand

         We begin with plaintiffs’ motion to remand, or, in the alternative, motion for leave

to amend their complaint. While “there is no unyielding jurisdictional hierarchy . . . . [,

c]ustomarily, a federal court first resolves doubts about its jurisdiction over the subject

matter . . . .” Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 578 (1999).

         Airgas removed the case on the basis of the fraudulent joinder doctrine. “Once a case

has been removed, the removing party bears the burden of proving that the court has

jurisdiction to hear the claim.” Jernigan v. Ashland Oil Inc., 989 F.2d 812, 815 (5th Cir.

1993). To succeed on a claim of fraudulent joinder, the removing party proves fraud by

showing “‘either that there is no possibility that the plaintiff would be able to establish a

cause of action against the in-state defendant in state court; or that there has been outright

fraud in the plaintiff's pleadings of jurisdictional facts.’” Id. (citing B., Inc. v. Miller

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Brewing Co., 663 F.2d 545 (5th Cir. 1981)). The district court’s standard of review in this

inquiry mirrors that of a motion for summary judgment. Badon v. R J R Nabisco Inc., 224

F.3d 382, 393 (5th Cir. 2000). “If there is ‘arguably a reasonable basis for predicting that

the state law might impose liability on the facts involved,’ then there is no fraudulent

joinder.’” Jernigan, 989 F.2d at 815-16 (citing B., Inc., 663 F.2d at 549).

       Here, Airgas provides an affidavit and accompanying pictures, evidencing that,

contrary to plaintiffs’ allegations in their complaint, CS&P was not the manufacturer of the

defective pump at issue in this case. (See Dkt. 1-1). Rather, Airgas provides evidence that

two separate companies, ACD and Texas Southwest Cryogenics (TSC), manufactured the

“warm” and “cold” ends of the pump. (Dkt. 1-1). In its motion to remand, plaintiffs do not

attach any evidence supporting their position that CS&P was properly joined. Instead, they

merely point back to the allegations in their complaint and claim that Airgas has not carried

its burden in proving that removal was proper. (See Dkt. 33). Given plaintiffs’ lack of

evidence that CS&P manufactured the pump, the court finds CS&P was improperly joined

and denies the motion for remand. See Badon v. R J R Nabisco Inc., 224 F.3d 382, 393

(5th Cir. 2000) (“[C]onsidering defendants' affidavits in light of the plaintiffs' lack of

evidence, there is no reasonable basis” for concluding that liability could be imposed against

the in-state defendants.).

                              Motion for Leave to Amend

       We now turn to plaintiffs’ motion in the alternative, for leave to amend. (Dkt. 33).

Plaintiffs seeks to add TSC, a Texas company whom Airgas has identified in its affidavit as

one of the actual manufacturers of the pump at issue, as a defendant. (See Dkt. 1-1). “If

after removal the plaintiff seeks to join additional defendants whose joinder would destroy

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subject matter jurisdiction, the court may deny joinder, or permit joinder and remand the

action to the State court.” 28 U.S.C.A. § 1447(e); see also Cobb v. Delta Exports, Inc., 186

F.3d 675, 679-81 (5th Cir. 1999). Leave to amend is granted at the trial court’s discretion,

and the Federal Rules of Civil Procedure advises the courts to “freely give leave when justice

so requires.” FED . R. CIV. P. 15(a). Joinder of new parties is governed by Rule 20. FED . R.

CIV. P. 20.

       However, “the district court should scrutinize an amended pleading naming a new

nondiverse defendant in a removed case ‘more closely than an ordinary amendment.’”

Moore v. Manns, 732 F.3d 454, 456 (5th Cir. 2013) (per curiam) (quoting Hensgens v.

Deere & Co., 833 F.2d 1179, 1182 (5th Cir. 1987) cert. denied, 493 U.S. 851, (1989)). The

Fifth Circuit counsels courts to consider the following in deciding whether to permit such

a joinder: “[1] the extent to which the purpose of the amendment is to defeat federal

jurisdiction, [2] whether plaintiff has been dilatory in asking for amendment, [3] whether

plaintiff will be significantly injured if amendment is not allowed, and [4] any other factors

bearing on the equities.” Hensgens, 833 F.2d at 1182; see also Moore, 732 F.3d at 456.

       Regarding the first factor, it appears that defeating federal jurisdiction is at least a

motivating factor in Hanson’s decision to file for leave to amend. After all, Hanson filed the

motion shortly after removal as an alternative to its motion to remand, which raises the

inference of forum-shopping. See Mayes v. Rapoport, 198 F.3d 457, 463 (4th Cir. 1999);

see also, e.g., W & L Ventures, Inc. v. East West Bank, 2014 WL 1248151 at *3 (S.D. Tex.

Mar. 27, 2014). Further, Hanson does not explain why he (1) failed to add TSC at the

outset; and (2) does not seek to add ACD, the other pump manufacturer, at this time. See,

e.g., Martinez v. Holzknecht, 701 F. Supp. 2d 886, 889 (S.D. Tex. 2010). However, Hanson

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could apparently state facially valid claims of negligence and product liability against TSC

as one of the true pump manufacturers, weighing in favor of granting leave to amend. See

Gallegos v. Safeco Ins. Co. of Ind., 2009 WL 4730570, at *4 (S.D. Tex. Dec. 7, 2009).

       Regarding the second factor, the court does not find Hanson’s request dilatory.

Hanson moved for leave to amend less than 30 days of removal. (See Dkts. 1, 33). See, e.g.,

Lafourche Parish Water Dist. No. 1 v. Traylor Bros., Inc., 2009 WL 2175983 (E.D. La. July

21, 2009). Additionally, the court has yet to issue a scheduling order under Rule 16(f), and

no significant activity beyond the preliminary pleading stage has yet occurred. See Anzures

v. Prologis Texas I LLC, 886 F. Supp. 2d 555, 565 (W.D. Tex. 2012).

       Regarding the remaining factors, Hanson would presumably be injured by having

to pursue any proposed claims against TSC in a separate suit filed in state court. Further,

such a result would undoubtedly be inefficient for all parties and the courts. Hensgens, 833

F.2d at 1182 (“[T]here is the danger of parallel federal/state proceedings with the inherent

dangers of inconsistent results and the waste of judicial resources.”). The court is aware

that five other lawsuits are already pending in Louisiana state court near the site of the

accident, and that the law firm representing Hanson also represents these Louisiana

plaintiffs. (Counsels’ statements at Apr. 29, 2014 hearing). Even so, it makes little sense

to add to this inefficiency by requiring two Texas lawsuits instead of one.

       On balance, given that (1) plaintiffs would state a facially valid claim against TSC, (2)

their request was not dilatory, and (3) conducting parallel proceedings in this state would

be inefficient, the court finds that granting leave to amend Hanson’s complaint is

appropriate.



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                                         Conclusion

       For these reasons, the court recommends that Hanson’s motion for leave to join

TSC as a defendant be GRANTED and the case remanded to the state district court from

which it was removed. All other pending motions should be terminated for lack of

subject matter jurisdiction.1



       Signed at Houston, Texas on May 2, 2014.




       1
          The court observes that, if this court did have jurisdiction over this case, Airgas’s
motion to transfer the case to the Middle District of Louisiana would be compelling, for many
reasons: (1) the events in question transpired in Louisiana, (2) this court has no subpoena
power over the many witnesses residing in Louisiana,(3) two of the three plaintiffs live near the
Louisiana border and actually sought medical attention in Louisiana for months after the
explosion in question. (Dkt. 39; Def. Exs. 8-9, offered into evidence at Apr. 29, 2014 hearing;
unrefuted statements made by Airgas’s counsel at Apr. 29, 2014 hearing). The main drawback
is that there would still be parallel federal and state court proceedings in Louisiana. But given
this court’s lack of jurisdiction, this option is unavailable.

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